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 1   [Parties and Counsel Listed on Signature Pages]
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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN FRANCISCO DIVISION
11
      IN RE: SOCIAL MEDIA ADOLESCENT                            MDL No. 3047
12    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION                                      Civil Case No. 4:22-md-03047-YGR-PHK
13
      THIS FILING RELATES TO:                                                   4:23-cv-05448-YGR
14

15    ALL ACTIONS                                               META AND STATE AGS’ STIPULATION
                                                                AND [PROPOSED] ORDER EXTENDING
16                                                              DEADLINES TO COMPLETE STATE
                                                                WITNESS DEPOSITIONS
17
                                                                Honorable Yvonne Gonzalez Rogers
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19                                                              Magistrate Judge: Hon. Peter H. Kang

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              STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE TO COMPLETE STATE WITNESS DEPOSITIONS
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 1           Pursuant to Civil Local Rules 6-2 and 7-12, the State Attorneys General (“State AGs”) and
 2   Defendants Meta Platforms, Inc.; Instagram, LLC; Meta Payments, Inc.; and Meta Platforms
 3
     Technologies, LLC (collectively, “Meta,” and together, the “Parties”), through their undersigned counsel,
 4
     hereby stipulate as follows:
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             1.        Under the schedule ordered by Magistrate Judge Kang on February 13, 2025 (ECF 1696),
 6

 7   the current deadline for Meta to complete fact and Rule 30(b)(6) depositions of State witnesses is July 18,

 8   2025. See ECF 1696.

 9           2.        In accordance with the schedule set by the Court, the Parties have worked to confer about,
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     notice, and schedule the fact and Rule 30(b)(6) depositions of State witnesses; amicably resolved various
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     disputes about scheduling, scope, and other issues; scheduled over 130 State witness depositions to occur
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     on or before July 18, 2025; are working to schedule additional State witness depositions; and are
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     proceeding with the scheduled depositions (which are ongoing).
14

15           3.        The Parties submitted their most recent joint letter brief concerning the scope of Meta’s

16   Amended Rule 30(b)(6) Notice to the States on March 28, 2025, and agreed that no depositions of any
17   witnesses designated to provide testimony in connection with Meta’s Amended Rule 30(b)(6) Notices to
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     State Plaintiffs shall occur until at least fourteen days have passed from the date upon which the Court
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     decided that joint letter brief. See ECF 1807, 1858. The Court issued that order on May 19, 2025. ECF
20
     1964.
21

22           4.        On June 9, 2025, in connection with Rule 30(b)(6) depositions of Meta, the Court ordered

23   plaintiffs’ counsel to serve copies of every document which they in good faith expect to ask about or use

24   as an exhibit at an upcoming 30(b)(6) deposition session. ECF 2024.
25           5.        In light of (a) the timing of the Court’s order regarding the scope of Meta’s Amended Rule
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     30(b)(6) Notice, (b) the number of State witness depositions that already are scheduled to occur on or
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     before July 18, 2025, (c) the unavailability of certain State witness until after July 18, 2025, (d) the Parties’
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                                                             2
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 1   efforts to resolve outstanding document and deposition discovery disputes, (e) the continuing production
 2   to Meta by some state agencies of documents into June 2025, and (e) the State AGs’ June 11, 2025 request
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     that Meta provide advanced identification of all documents that Meta in good faith expects to use at any
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     upcoming Rule 30(b)(6) deposition session of a state plaintiff, the Parties have agreed to extend the
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     deadline for Meta to complete fact and Rule 30(b)(6) depositions of State witnesses (as defined in ECF
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 7   1696), and a process for Meta to pre-identify all documents that Meta expects to use in good faith at any

 8   Rule 30(b)(6) deposition session of a state plaintiff, as provided below,.

 9          6.        This Court has previously extended Meta’s deadline to complete fact and Rule 30(b)(6)
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     depositions of State witnesses once. See ECF 1696. This stipulated extension of the deadline for Meta to
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     complete fact and Rule 30(b)(6) depositions of State witnesses does not and will not affect any other
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     deadlines already set or that may be set in this action, nor the deposition time limits already set in ECF
13
     1696, nor does it affect any party’s or non-party’s rights in relation to any other deadlines.
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15          7.        Therefore, the Parties agree that the following shall apply:

16                        a. Meta shall pre-identify all documents it in good faith expects to use in an upcoming
17                            30(b)(6) deposition session no later than five business days in advance of such
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                              upcoming deposition session. 1 The state plaintiffs shall prepare their 30(b)(6)
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                              designee(s) to testify about any such documents timely identified prior to the
20
                              upcoming deposition session. At such upcoming 30(b)(6) deposition session, Meta
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22                            shall not ask questions about any other specific documents that were not so timely

23                            identified. However, if a state plaintiff’s counsel opens the door and questions a

24                            30(b)(6) designee on redirect concerning a document not included in the documents
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     1
      The term “documents” includes any document, regardless of whether it was previously produced in this
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     action or identified by Meta through other lawful means (e.g., located through a public website or other
28   publicly available source).
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 1                  identified by Meta before the deposition session, then on recross Meta shall be
 2                  entitled to question the witness about any such documents used as an exhibit or
 3
                    raised by the state plaintiff’s counsel. Nothing prohibits the Parties from reaching
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                    agreement on allowing any questioning of a 30(b)(6) designee concerning any
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                    document not timely identified before the deposition session.
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 7              b. Subject to extenuating circumstances, Meta will notify the relevant State AG at

 8                  least two weeks in advance if it intends to forgo a 30(b)(6) deposition of the state

 9                  plaintiff’s Rule 30(b)(6) designee(s).
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                c. Subject to the Court’s approval, Meta’s deadline to complete fact and Rule 30(b)(6)
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                    depositions of State witnesses (as defined in ECF 1696) shall be extended through
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                    and including August 29, 2025, except that Meta’s deadline to complete the Rule
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                    30(b)(6) depositions of the People of the State of California and the Commonwealth
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15                  of Kentucky witnesses shall be extended through and including August 8, 2025.

16              d. Meta shall work with the State AGs that are involved in expert discovery to
17                  minimize disruptions to expert discovery that may result from fact and Rule
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                    30(b)(6) depositions of State witnesses.
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                e. The State AGs reserve all rights related to the 30(b)(6) depositions. This agreement
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                    does not constitute a waiver of any objections the State AGs may raise with respect
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22                  to these depositions, nor does it alter any requirements or limitations imposed on

23                  these depositions by previous court orders, aside from the deadline for completion

24                  of such depositions.
25              f. Meta reserves all rights related to the 30(b)(6) depositions, including without
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                    limitation the right to dispute any objections that the State AGs may raise.
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 1   Respectfully submitted,
 2   DATED: July 1, 2025                           COVINGTON & BURLING LLP
 3
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                                                     Attorneys for Meta Platforms, Instagram, LLC; Meta
 9                                                   Payments, Inc.; and Meta Platforms Technologies, LLC
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15   Kentucky

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 1                                              ATTESTATION
 2          I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
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     to the filing of this document has been obtained from each signatory hereto.
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 5
     Dated: July 1, 2025                                          By: /s/ Ashley M. Simonsen
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 1                                          [PROPOSED] ORDER
 2         By agreement of the Parties, and for good cause shown, IT IS SO ORDERED.
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     Dated: July 2                , 2025
 5                                                       Magistrate Judge Hon. Peter H. Kang
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